          Case 8:24-cv-00472-FWS-E Document 10 Filed 06/21/24 Page 1 of 1 Page ID #:33
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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                         CASE NUMBER
Kevin M. De Hoog,                                                                        8:24-cv-00472-FWS-E
                                           Plaintiff(s)/Petitioner(s),
                                 v.

Masked Guards of Theo Lacy Strip Search,                                       ORDER OF DISMISSAL OR REMAND

                                       Defendant(s)/Respondent(s).


The Court previously received from                Plaintiff(s)/Petitioner(s)           Defendant(s)/Respondent(s):
                 an IFP Request with no accompanying Complaint/Petition/Notice of Removal.
                 a Complaint/Petition/Notice of Removal without an accompanying IFP Request
                 or payment of the filing fees.
                 a Complaint/Petition/Notice of Removal with a partial filing fee payment for an amount
                 less than the full fee.
The Court sent a warning letter to      Plaintiff(s)/Petitioner(s) Defendant(s)/Respondent(s) advising that
failure to correct this deficiency within THIRTY DAYS from the date of the warning letter would result in
dismissal or remand of this case. More than THIRTY DAYS have now passed, and the deficiency has not been
corrected.

Accordingly, this case is HEREBY ORDERED

                  DISMISSED without prejudice.

                  REMANDED to the                                                             .




 Dated:          June 21, 2024
                                                                                       United States District Judge




IFP-10 (06/22)                                        ORDER OF DISMISSAL OR REMAND                                     Page 1 of 1
